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DEFENDANT: MIMI M. VIGIL

DOB: . 1951
Colorado Springs, CO 80916

COMPLAINT FILED? ____ YES X_NO

OFFENSE: Count 1: - 18 U.S.C. § 286 - Conspiracy to File False Claims for
- Refund
18 U.S.C. § 287 — False Claim for Refund (Fom
1099-OID)
Count 14: 18 U.S.C. § 371- Conspiracy to Corruptly Endeavor

to Obstruct or Impede the Due -
Administration of the Internal Revenue Laws

, it 17: 26 U.S.C. § 7212(a) and 18. U.S.C. § 2— Corrupt
_ Endeavor to Obstruct or Impede the Due
Administration of the Internal Revenue Laws and

Aiding and Abetting
LOCATION OF OFFENSE: EI Paso County, Colorado
PENALTY: Count 1: _NMT 10 years imprisonrfient: NMT

$250,000 fine, or both; NMT 3 years supervised
release; and $100 Special Assessment.

Count 12: - . NMT 5 years imprisonment: NMT
- - $250,000 fine, or both; NMT 3 years supervised
release; and $100 Special Assessment

Count 14: . NMT 5 years imprisonment; NMT.
~ $250,000 fine, or both; NMT 3 years supervised
release; and $100 Special Assessment -

Count17: —-~ NMT 3 years imprisonment; NMT $5,000 fine, or
both; NMT 1 year supervised. release; and $100
Special Assessment

AGENT: _—_ Special Agent Adam Rutkowski, IRS Cl
- Special Agent Klaton Knabb, TIGTA
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THE GOVERNMENT »

will seek detention in this case .
X__ will not seek detention in this case -

The statutory presumption of detention is not applicable to this defendant.

OCDETF CASE: | Yes X__No
